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                                                                            EXHIBIT A-1


1                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                 EASTERN DIVISION

3     DEREK KHANNA, Individually                 )   Docket No. 21 C 05752
      and derivatively on behalf of              )
4     Shimbly Corporation,                       )
                                                 )
5                        Plaintiff,              )   Chicago, Illinois
                                                 )   February 3, 2023
6                  v.                            )   10:02 a.m.
                                                 )
7     KATELYNN BANKS, et al.,                    )
                                                 )
8                        Defendants.             )

9
                    TRANSCRIPT OF PROCEEDINGS - Motion Hearing
10                   BEFORE THE HONORABLE VIRGINIA M. KENDALL

11
      APPEARANCES:      (Via Videoconference)
12

13    For the Plaintiff:             ROETZEL & ANDRESS by
                                     MR. HILLARD M. STERLING
14                                   30 North LaSalle Street, Suite 2800
                                     Chicago, IL 60602
15

16    For the Defendants:            FRIEDMAN & FEIGER LLP by
                                     MR. KYLE AUSTIN COKER
17                                   17304 Preston Road, Suite 300
                                     Dallas, TX 75252
18

19

20

21

22    Court Reporter:                GAYLE A. McGUIGAN, CSR, RMR, CRR
                                     Official Court Reporter
23                                   219 S. Dearborn Street, Room 2504
                                     Chicago, IL 60604
24                                   312.435.6047
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25
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1          (Proceedings heard via videoconference.)

2                 THE CLERK:     21 C 5752, Khanna versus Banks.

3                 Please introduce yourself, starting with plaintiff's

4     counsel.

5                 MR. STERLING:      Yes.   Good morning, your Honor.          This

6     is Hillard Sterling.        I represent plaintiff, Derek Khanna.

7                 THE COURT:     Good morning, Mr. Sterling.

8                 MR. COKER:     Good morning, Judge.        Kyle Coker

9     representing the defendants, Shimbly and Katie Banks.

10                THE COURT:     Okay.    Good morning.

11                Now, I inherited this from my colleague, Judge

12    Feinerman.

13                Can someone fill me in, please, on this rule to show

14    cause and maybe some past history that might help me get up to

15    speed?

16                MR. STERLING:      Thanks for the opportunity.

17                Yes.   The motion for rule to show cause and for

18    sanctions under Rule 37(b)(2) is based upon what we argue are

19    multiple violations of an order entered by the Court on

20    November 9th.

21                The order required defendants to produce documents by

22    December 5th.      And it incorporated by reference the entirety of

23    the documents, the five categories of documents that we were

24    seeking in our motion to compel.

25                Unfortunately, from our perspective, after December
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1     5th -- first of all, that date came and went.               And then we

2     received a small production that was grossly incomplete, with

3     major gaps.      So I sent a letter to Mr. Coker on December 21st,

4     which laid out, in strong detail, five categories, all of the

5     documents that we did not see in the supplemental production

6     and, again, that were missing from the initial production.

7                 Then -- I've had multiple meet-and-confers with

8     Mr. Coker over that time frame and thereafter.               And that led to

9     a commitment to produce documents and try to fill these gaps so

10    we could avoid motion practice -- or try to avoid motion

11    practice.

12                Unfortunately, though, we received a supplemental

13    production on January 23rd that shared very little.                 It was a

14    very small production.         They omitted the vast majority of

15    documents we were seeking.

16                And, your Honor, I think it's important to note, and

17    you'll see in the motion, that these are not documents that are

18    difficult to find.        These are -- these are documents that were

19    generated during the course of approximately a year's work on a

20    technology start-up company that was going to be a major player

21    in the E-real estate area, competing with companies like

22    Zillow.     And there was a ton of development work that was done.

23    Derek, my -- Derek Khanna, my client, and Katelynn Banks were

24    the main drivers of the company, but there were many employees,

25    independent contractors, there was testing going on, beta work,
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1     so there are these vast platforms, technology platforms, email

2     platforms that were created and used extensively by the

3     parties.     There were Google documents and calendars.              These are

4     examples of the five categories of documents that we're

5     referencing here, your Honor.           Calendars.     Financial documents

6     were the fourth category.          And then documents, the fifth one

7     that was missing and was not found anywhere in the January 23rd

8     production, were documents that had to do with defendant Banks'

9     lone defense in this case, which is unclean hands.

10                There are no other -- there are no counterclaims.

11    There are no other allegations by Defendant Banks.                And he

12    asserted an unclean hands defense essentially based upon two

13    factual themes.

14                One is that she argued that Shimbly wasn't a real

15    company, it wasn't functioning, despite all the work that

16    happened to get it to, really, the 11th hour and 59th minute of

17    release.     It was -- the company was just about ready to launch

18    in late 2020.

19                So that is one thing, that she's saying that Shimbly

20    wasn't really functional and it wasn't a real company, which we

21    dispute strongly.

22                The second has to do with some allegations against my

23    client involving the alleged unauthorized practice of law, that

24    he misrepresented his law status, his law degree.                So we wanted

25    documents that we know exist, that Mr. Condon (phonetic) knows
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1     existed because he saw them.

2                 Defendant Banks, for example, submitted multiple

3     recommendation letters to multiple academic institutions on

4     behalf of Mr. Khanna, which contradict and defeat many of the

5     allegations.

6                 We used several Trello messages that were in our

7     possession at the initial phase of the Rule 30(b)(6) deposition

8     of Shimbly, which started on August 25th.              And we gained these

9     documents because we had them.           And they weren't anywhere in

10    the production.

11                So we have -- we set out, your Honor, in great detail

12    many categories of documents that we know exist that -- because

13    we've seen them or they're in the production or they were

14    tremendous development platforms with wealth -- a wealth of

15    documentation and information showing the development status of

16    Shimbly, yet they're not in there.

17                So we had no choice, your Honor, but to get the Court

18    involved and file this motion to try to remedy the harm that

19    has been caused already.

20                This case now -- we filed this case, your Honor, back

21    in October 2021.       We filed discovery -- we served our discovery

22    requests in April 2022.         And here we are, stuck at the starting

23    line, because we just haven't gotten information that we know

24    is out there.

25                I know Mr. Coker has been trying to work with his
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1     client.     He's the second lawyer in this case.            He came

2     relatively late on.        But we, quite frankly, don't believe that

3     Defendant Banks has been taking the discovery process

4     seriously.     And we really do need stringent relief from the

5     Court, relief that will address the harm and compel them to

6     actually comply with the November 9th order.

7                 That's what our motion is all about, your Honor.                 And

8     we appreciate your help with this.

9                 THE COURT:     Okay.    Mr. Coker, what's going on with you

10    and your client?       Are you able to get these documents from your

11    clients?     Because, clearly, there's a tremendous pile of

12    information that has not been turned over.

13                MR. COKER:     Well, first, your Honor, I think that part

14    of the issue is, like you, I inherited this case as well

15    further along the way, and that was only -- I think it was back

16    in November we came in.

17                The issue that we ran into before that was prior

18    counsel had not been responding to Mr. Sterling and had not --

19    and basically blew the deadline to object to their discovery

20    requests.     And so it was simply we came in, and it was "produce

21    everything."      And so, of course, when I came in, I've been

22    going through, trying to understand what has gone on and what's

23    going on in this case.         And as I understand more about what

24    Mr. Sterling is requesting and what his client says exists,

25    I've been able to go back and get more.
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1                 And the first kind of part of the production, there

2     were -- because Mr. Sterling and I are regularly speaking about

3     these issues, we produced it.           And it was simply let me know if

4     your clients need something else, because I'm kind of playing

5     catch-up, running around trying to get everything together on

6     my end, and I need to know if something is not there.                 The

7     intention is to produce everything.

8                 And when he came back and gave -- he sent his letter

9     on December 21st.       It was right before Christmas.           We got back.

10    We conferred about those issues.           I went back to my client, and

11    I said, "Okay, let's go do, from top to bottom" -- because

12    we -- I haven't even gotten the file from the prior attorney,

13    which is a problem in this case, too, but -- I don't even know

14    what was produced already.          But I said:     Let's go through and

15    search through all of these different categories again and find

16    every single thing that we possibly can that could be

17    responsive.      And for the categories, because we're -- we're

18    trying to build these categories that are very broad.                 For the

19    categories, if there's anything you don't understand or there's

20    a question that you have, outline out what you sent me and

21    outline out why there's a problem or, you know, what's going on

22    with the other portions.

23                And so I actually provided -- you know, took that

24    summary my client sent me.          I've gone over it with Mr. Sterling

25    and sent that to him.        And what I proposed was that our clients
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1     actually get on a call with both of us, and his client

2     expresses to my client -- because they know more about this

3     company than Mr. Sterling or I ever would -- what exactly it is

4     or -- that he is referring to that hasn't come in.

5                 Because, for instance, on the (inaudible) side of the

6     equation, where you've got this, you know, design architecture

7     and parts that involve the development of, you know, their --

8     what they were building is their kind of online product.                     Those

9     portions -- my client is not a developer, and she's trying to

10    give him everything, but I don't even think that we've had

11    access to some of those things.           And some of the things that

12    we've been requesting, we can't just go download all of the

13    data.    We've been trying to provide them the access information

14    to actually get into those accounts.             And so that's -- that's

15    kind of Part 1 to the issue.

16                Part 2 is there is -- we've had to go through and dig

17    out through several other business and personal accounts to

18    look for different things in this, and we've done that.                  But

19    what we've discovered is prior to, I believe, even the

20    defendant -- or the plaintiff in this case leaving the company,

21    that prior employees' emails and Slack files were -- I think

22    Slack accounts as well, were not being paid after they left.

23    And so we went in to, say, Google and tried to get access to

24    those.    And even after paying for the accounts to be, you know,

25    restarted at this point, two years after they've been turned
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1     off or haven't been paid and those emails were discontinued

2     with the company, it wasn't providing us any of the history of

3     those accounts.       And so we are working right now to try to get

4     Google and Slack to turn over the things that we just don't

5     have access to right now.

6                 And Mr. Sterling and I -- I understand why he felt the

7     need to file this motion.          We actually spoke about that before

8     this hearing this morning.          And it's partly because we keep

9     running up to the end of the fact discovery deadline, and we're

10    having to go through and just -- we both want to get everything

11    out in the open and on the table and -- so we can move on and

12    finish up depositions.         And right now it looks like that

13    Mr. Sterling wants to send out more third-party subpoenas.                   I

14    think we're going to have to send out a couple if we don't get

15    a response back from some of these providers.

16                But since -- I can say since I came on board, there's

17    been no intention to withhold anything.             I think Mr. Sterling

18    would confirm that on my end.           And I can tell you that my

19    client has been responsive to me on anything that I've asked

20    her for.     And we've actually been trying to speed up the

21    process, been trying to file those documents away and organize

22    them so that if you need to go through by category, so that

23    Mr. Sterling can tell you -- tell me what else it is, you know,

24    whether it's, you know, some type of third-party architecture

25    platform that we need to go pull data off of or what have you,
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1      so that I can get him everything.

2                 Your Honor, I was -- I'm hesitant to move forward with

3      this motion -- or this hearing without objecting because I'm

4      actually in Dallas and we've been iced in all week.                And so the

5      afternoon that Mr. Sterling filed his motion, our office has

6      been shut down.      We haven't been able to drive anywhere.             And

7      leading up to that, the week before, we moved offices.                And so

8      I've been having all kinds of issues with my network.                In fact,

9      my network and all of my accounts are down this morning, for

10     some reason.

11                And so that's kind of what I've been dealing with

12     because, frankly, we're not as adept at dealing with ice and

13     snow as you all up there.

14                So I haven't -- I can tell you, your Honor, I would

15     love to respond to some of the portions of Mr. Sterling's

16     motion.    And I think that, from what Mr. Sterling and I

17     discussed prior to this, I think it would be helpful if we just

18     went ahead and put a briefing schedule in place, because I

19     think by the time we get to -- if this Court would do that, I

20     think by the time we get through the motion, we would

21     drastically narrow down the issues.           And the only concern is we

22     may need help on the -- extending some of the discovery

23     deadlines to give us time to get some of the subpoenas in and

24     take a couple of depositions right after, finish up Ms. Banks'

25     corporate deposition, do her individual deposition, and
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1      Mr. Khanna's deposition.        And then I think, at that point, we

2      will be -- we will be caught up and everybody will be moving at

3      the same speed.

4                 And so that's -- and I think that there will still be

5      some disputes at the end of it as far as Mr. Khanna saying you

6      have this and we don't.        And I think we may have to come back

7      and address some of those issues.           But it's not the full list

8      of, you know, all of these different categories.               And it hasn't

9      been due to anybody trying to withhold anything.               It's just we

10     got an order that said "produce everything."              And they're very

11     broad requests.      And we're having to go in and pull from a lot

12     of different accounts for all of the different employees and

13     try to track down how to get into a lot of them along the way.

14                So it's -- I don't know if Mr. Sterling would argue

15     with saying -- with what I'm going to say, which is that we

16     have been working together since I've come on board.                I've been

17     responsive to him.       I think that we have a very productive

18     relationship on getting these things through.              And the pressure

19     right now that I know that Mr. Sterling is feeling is that all

20     of that is great, but if we run up into the end of the

21     discovery deadline, he's in a bad position.

22                THE COURT:     What is the discovery deadline?

23                MR. STERLING:      March 31st, your Honor.

24                THE COURT:     Okay.    Well, with the new attorney, who is

25     trying to work with you and is in an ice storm, I'm going to
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1      enter and continue the motion to compel for four weeks.                 So you

2      work together with trying to give him what he's requesting.

3                 I'll have a status hearing with you in four weeks.                   At

4      that status hearing, you can tell me what's left.               If there are

5      still items that are left, we will have you respond to that in

6      your written response, and I'll deal with it.

7                 I'll move out your fact discovery to the end of May,

8      so May 31st, if that's a court date, Lynn.

9                 And if you do get into a situation where you're going

10     to need a little more hand-holding, then I'm probably going to

11     send you to the magistrate judge because I have a really full

12     trial schedule.      I just happened to take off today to do

13     virtual hearings and get some other writing caught up because

14     the -- it's just hard to do trials every day of the week and

15     not get the rest of your work done.           So you might get a

16     referral.     But let's see how you do on your own without that

17     first.

18                So four weeks to work on that list and whittle it

19     down.    And then if there's anything left, I'll give you the

20     dispositive -- not dispositive, the briefing schedule on the

21     motion.    Okay?

22                Lynn, can you give me some dates?

23                THE CLERK:     Your Honor, March 3rd is actually a day

24     that you are not sitting, so it would have to be March 10th,

25     which is a Friday.
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1                 THE COURT:     Yes, that's fine.

2                 THE CLERK:     And then end of fact discovery would be

3      May 31st.     It is a day.

4                 THE COURT:     Perfect.

5                 All right, everyone.        Good luck with that.

6                 MR. STERLING:      Thank you, your Honor.

7                 May I add one point?        And I don't want to take more of

8      the Court's time.       I appreciate that you've been very receptive

9      to all -- both of our points.

10                I just want to make one thing clear.            It's not -- I

11     didn't mention it before, but it's in the motion, and this is

12     our biggest concern, is that we're -- we do have evidence that

13     documents have been spoliated.          There's specific -- there are

14     massive accounts that have been --

15                THE COURT:     I saw that in the motion.

16                MR. STERLING:      Okay.    I have a feeling, at the end of

17     the day, we certainly will be before you on those issues

18     because -- unless they somehow find those documents, but we've

19     received specific confirmation that multiple categories have

20     been destroyed.

21                THE COURT:     Okay.    All right.     Well --

22                MR. COKER:     Your Honor, you heard it from me, too.                I

23     mean, I'm sitting in front of you saying that these accounts

24     are the ones that we're having -- these other employees that

25     left the company are the ones that we're having trouble getting
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1      access to.     There is no deleting of evidence.           And I went and

2      told Mr. Sterling the exact same thing about that a couple

3      weeks ago when I uncovered -- that was part of the reason we

4      were having trouble tracking those down.             But there has not

5      been any go out and just delete documents or something.                 It's

6      literally -- there's certain accounts, like with Slack, that,

7      if it's direct messages between users, it doesn't matter if you

8      own the group Slack account --

9                 THE COURT:     Yes, I'm not going to get into that today.

10     That's not my purpose today.          My purpose today is to give you a

11     little bit of breathing room based upon the continuity of

12     counsel in this case and your own work situation, which is out

13     of your control, and let you respond as much as possible to

14     narrow the issues, and we'll go from there.

15                So I'll see you in a month, okay?

16                And good luck.      And try hard to clean it up before I

17     have to handle it a motion, okay?

18                All right.     Thanks, folks.      Have a good day.

19                MR. STERLING:      Thank you, your Honor.        Enjoy your

20     weekend.

21                THE COURT:     You, too.

22                MR. STERLING:      Thanks.

23                THE CLERK:     Court is adjourned.

24                And our WebEx hearings have concluded.             You can please

25     log off.
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1           (Proceedings concluded at 10:22 a.m.)

2                                C E R T I F I C A T E

3           I certify that the foregoing is a correct transcript, to

4      the extent possible, of the record of proceedings in the

5      above-entitled matter, given the limitations of conducting

6      proceedings via videoconference.

7

8
       /s/ GAYLE A. McGUIGAN_____________                     February 9, 2023
9      Gayle A. McGuigan, CSR, RMR, CRR                               Date
       Official Court Reporter
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                                                                             EXHIBIT A-3
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                                                                                                                     EXHIBIT A-4




                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, LAW DIVISION

 SHIMBLY CORPORATION,                                      )
 a Delaware Corporation,                                   )
                                                           )
 Plaintiff,                                                )                                Case No. 2021-L-000211
                                                           )
 v.                                                        )                           Hon. Margaret A. Brennan
                                                           )
 DEREK KHANNA,                                             )
                                                           )
 Defendant.                                                )


  PLAINTIFF’S RESPONSE TO DEFENDANT’S COMBINED MOTION TO DISMISS

         Plaintiff, Shimbly Corporation files this Response to Defendant’s Combined Motion to

Dismiss in the above-styled and numbered cause, respectfully requests this Court to deny Plaintiff’s

Combined Motion to Dismiss, and in support thereof, shows the Court as follows:

         I.       INTRODUCTION

         Defendant’s Combined Motion to Dismiss consistently fails to clearly articulate grounds to

dismiss under the separate 735 ILCS 5/2-615 and 735 ILCS 5/2-619 motion to dismiss standards.

Illinois law is clear that the two motions to dismiss must be segregated and considered separately if

both are filed together in a combined motion pursuant to 735 ILCS 5/619.1.

         Under a 735 ILCS 5/2-615 (hereinafter “Section 2-615”) analysis, the Court only tests

whether the legal sufficiency of the complaint as to whether the allegations, when construed in the

light most favorable to the plaintiff, and taking all well-pleaded facts and all reasonable inferences

that may be drawn from those facts as true, are sufficient to establish a cause of action upon which

relief may be granted. The Complaint facts are to be construed as a whole, and so long as the Court

finds that any sufficient facts are pled in the Complaint to support contested elements of the claim,



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the Court must not dismiss Plaintiff’s complaint.

         Meanwhile under a 735 ILCS 5/2-619 (hereinafter “Section 2-619”) the legal sufficiency of

the complaint is admitted, and Defendant may affirmative matters to avoid or defeat the claim. If

grounds for dismissal are not apparent on the face of the complaint, the moving party must file an

affidavit along with its 2-619 motion to demonstrate the basis or bases for dismissal. Defendant failed

to attach any supporting affidavit, and thus is precluded from contesting the pled facts under this

analysis.

         Defendant’s attempts to confuse the standards of review in its Combined Motion to Dismiss,

the reality is that Defendant has repeatedly failed to establish proper grounds for the Court to grant its

Motion in whole or part. As such, Plaintiff respectfully requests that Defendant’s Motion be denied.

         II.      LEGAL STANDARD

                  A.        A Combined Section 2-615 Motion and Section 2-619 Motion Must
                            Carefully Segment Arguments, by Statute, for a Reason.

         Section 2-619.1 allows a party to file a motion under any combination of Sections 2-615, 2-

619, and 2-1005 (summary judgments) as a single motion. 735 ILCS 5/619.1. However, a combined

motion must be presented in parts, and each part must specify the section of the Code of Civil

Procedure under which it is brought. Id. Motions that are not properly identified may be denied if the

error prejudices the nonmovant. Ill. Graphics Co. v. Nickum, 159 Ill. 2d 469, 484 (1994). In essence,

identification of which arguments are which in a combined motion, also amounts to segmentation

according to Section 2-619.1. (“Each part shall be limited to and shall specify that it is made under

one of Sections 2-615, 2-619, or 2-1005”) (emphasis added); See Reynolds v. Jimmy John’s

Enterprises, LLC, 988 N.E.2d 984, 370 Ill.Dec. 628 (holding that motions under §2-619.1 must

comply with the statute).

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                  B.        In Evaluating a Section 2-615 Motion, the Court Should Accept as True
                            All Well-Pled Allegations, Liberally Construe Those Allegations, and
                            Draw All Reasonable Inferences in the Plaintiff’s Favor, Not the Other
                            Way Around.

         A Section 2-615 motion to dismiss is not a fact-based motion; it only tests whether the legal

sufficiency of the complaint and asks whether the allegations, “when construed in the light most

favorable to the plaintiff, and taking all well-pleaded facts and all reasonable inferences that may be

drawn from those facts as true, are sufficient to establish a cause of action upon which relief may be

granted.” Napleton v. Village of Hinsdale, 891 N.E.2d 839, 845 (Ill. 2008); Bjork v. O’Meara, 2013

IL 114044, ¶ 21, 986 N.E.2d 626, 630. As the Illinois Supreme Court explained in Marshall v. Burger

King, “[A] cause of action should not be dismissed pursuant to Section 2- 615 unless it is clearly

apparent that no set of facts can be proved that would entitle the plaintiff to recovery.” Marshall v.

Burger King Corp., 856 N.E.2d 1048, 1053 (Ill. 2006).

         A Section 2-615 motion argues that plaintiff cannot prove any set of facts, under any

circumstances, that would entitle him or her to relief. Marshall v. Burger King Corp., 222 Ill. 2d

422, 429 (2006).

          Contrary to Defendant’s representation in its Motion that “[a] Court must dismiss a

complaint that fails to satisfy Illinois’ fact-pleading requirement,” Section 2-615(d) expressly

permits the Court to allow for or require amendment of its pleadings. Alternatively, Courts may

enter a dismissal with prejudice “where the party’s actions show a deliberate, contumacious or

unwarranted disregard of the court’s authority.” Cronin v. Kottke Associates, LLC., 2012 IL App

(1st) 111632, ¶ 45, 975 N.E.2d 680, 692 (quoting Shimanovsky v. Gen. Motors Corp., 692 N.E.2d

286, 291 (Ill. 1998)). Reliance on matters outside the pleadings is a basis for reversal even if those

matters would sustain a motion for summary judgment. Cain v. American National Bank & Trust

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Co. of Chicago, 26 Ill.App.3d 574, 325 N.E.2d 799 (1st Dist. 1975).

                  C.        A Section 2-619 Motion Unsupported by Affidavit Fails When the Basis
                            of Arguments Rely on Contesting Plaintiff’s Properly Pled Facts.

         A Section 2-619 motion to dismiss asks the court to look outside the four corners of the

complaint and consider defenses that completely defeat a cause of action. 735 ILCS 5/2-619. In other

words, a Section 2-619 motion “admits the legal sufficiency of the complaint but asserts affirmative

matter to avoid or defeat the claim.” Lamar Whiteco Outdoor Corp. v. City of W. Chi., 355 Ill. App.

3d 352, 359 (2d Dist. 2005); City of Springfield v. West Koke Mill Dev. Corp., 728 N.E.2d 781, 787

(Ill. App. Ct. 2000). If grounds for dismissal are not apparent on the face of the complaint, the moving

party must file an affidavit along with its Section 2-619 motion to demonstrate the basis or bases for

dismissal. 735 ILCS 5/2-619. The movant carries the burden of proof and the concomitant burden of

going forward on a Section 2-619(a) motion to dismiss. 4 RICHARD A. MICHAEL, ILLINOIS

PRACTICE SERIES § 41:8, at 481 (2d ed. 2011).

         Lastly, the Illinois Supreme Court has described an affirmative matter as “some kind of

defense ‘other than a negation of the essential allegations of the plaintiff’s cause of action’” Van Meter

v. Darien Park Dist., 799 N.E.2d 273, 278 (Ill. 2003) (quoting Kedzie & 103rd Currency Exch., Inc.

v. Hodge, 619 N.E.2d 732, 735 (Ill. 1993).

         III.     RESPONSE TO DEFENDANT’S SECTION 2-615 MOTION

         In Defendant’s Combined Motion to Dismiss, Defendant split its combined motion into

subsection III(A), identified as Defendant’s Section 2-615 motion, and III(B), identified as

Defendant’s Section 2-619(a)(9) motion. Defendant’s arguments in its subsection III(A) of its Motion

are limited to Section 2-615 analysis. Under Section 2-615, dismissing the Complaint for deficiencies

in pleading is drastic; dismissal is proper only when no set of facts would sustain complaint. Powell

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v. Village of Mt. Zion, App. 4 Dist.1980, 43 Ill.Dec. 525, 88 Ill.App.3d 406, 410 N.E.2d 525.

                  A.        Defendant’s Section 2-615 Fiduciary Duty Challenge Based on Standing,
                            Relies on Irrelevant “What-If’s.”

         Factual defenses are not available under Section 2-615; the court may consider only the

allegations of the Complaint and may not consider supporting affidavits offered by the movant.

Baughman v. Martindale-Hubbell, Inc., App. 4 Dist.1984, 84 Ill.Dec. 622, 129 Ill.App.3d 506, 472

N.E.2d 582, appeal denied. Defendant alleges that since it was organized under Delaware law, that

Plaintiff should have labeled the breach of fiduciary claim as if it were brought in Delaware, that

Plaintiff was required to send a demand which the Complaint does not mention (and isn’t an

element of Plaintiff cause of action), and the far-fetched idea that a Cook County Court needs to

make sure that Plaintiff is current on its Delaware franchise tax before filing suit in Illinois.

However, “what if’s” relating to another jurisdiction’s procedural rules, that of which the proper

remedy isn’t even alleged by Defendant to be similar to Section 2-615 amendment or dismissal

of the suit, is not properly argued at this juncture, if ever. A Section 2-615 motion is to argue that

a plaintiff cannot prove any set of facts, under any circumstances, that would entitle him or her to

relief. Marshall v. Burger King Corp., 222 Ill. 2d 422, 429 (2006).

         Lastly, there is no requirement that Plaintiff show that it is in good standing in the State

of Delaware in order to bring suit in Illinois. Such information is public record and readily

available; out of an abundance of caution, Plaintiff respectfully requests that this Court take

judicial notice of Plaintiff’s current standing in its state of incorporation and Title 8 of the

Delaware Code governing Corporations.

                  B.        Defendant Argues That Plaintiff Pled Insufficient Facts to Support its
                            Breach of Fiduciary Claim, While Conveniently Omitting That Plaintiff
                            Properly Incorporated by Reference its Entire Factual Introduction.

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         In evaluating sufficiency of a Complaint the entire Complaint must be construed as whole

rather than separately considering its individual portions. Gravitt v. Jennings, App. 1 Dist.1979, 34

Ill.Dec. 720, 79 Ill.App.3d 286, 398 N.E.2d 395. Defendant’s arguments as to the specificity of

Plaintiff’s breach of fiduciary duty claims, completely ignore the fact that Plaintiff properly

incorporated by reference its detailed introductory section as allowed by Ill. Sup. Ct. R. 134, instead

of needlessly restating the same facts six times over in its Complaint.

         Defendant’s motion argues that Plaintiff did not sufficiently detail what Defendant did to

violate his fiduciary duties and what duties were owed. Whether a duty is owed is a question of law.

Keef v. Widuch, App. 1 Dist.2001, 254 Ill.Dec. 580, 321 Ill.App.3d 571, 747 N.E.2d 992, appeal

denied 258 Ill.Dec. 95, 195 Ill.2d 579, 755 N.E.2d 478. Plaintiff stated in the properly incorporated

paragraph 6 of its Complaint that Defendant failed to incorporate, organize the entity, issue shares,

advise Plaintiff of the requirements for corporate standing, advise on shareholder meetings, board of

director meetings, ensure minutes were maintained, prepare and disseminate corporate bylaws, and

establish a proper document retention policy.

         Defendant further argues that Plaintiff did not argue what conflict of interest that Defendant

failed to disclose and that Plaintiff failed to articulate how Defendant “furthered his own interests.”

However, Plaintiff clearly stated in Section 19(b) of its Complaint that Defendant failed to disclose

the clear conflict by acting as counsel for plaintiff, himself, and for other shareholders in their

individual capacities, that in Section 11 that Defendant, as corporate counsel, attempted unilaterally

self-deal to himself a substantial amount of stock, and in Section 19(d) that Defendant misappropriate

corporate assets; the exact amount and extent of Defendant’s misappropriation of assets can more

accurately and properly calculated after Plaintiff has conducted discovery. Under these facts, in

Plaintiff’s Complaint, it does not seem equitable to allow Defendant to play hide the ball as to the
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extent of his misappropriation that discovery will shed light on by filing a motion to dismiss.

         In deciding a motion to dismiss based on the pleadings, the trial court is to consider only those

facts apparent from the face of the complaint, matters of which the trial court may take judicial notice,

and any judicial admissions contained in the record. Bruss v. Przybylo, App. 2 Dist.2008, 324 Ill.Dec.

387, 385 Ill.App.3d 399, 895 N.E.2d 1102. Out of an abundance of caution, Plaintiff would ask that

this Court take judicial notice of the Illinois Rules of Professional Conduct, the Delaware Rules of

Professional Conduct, and the Title 8 of the Delaware Code as it relates to self-dealing and conflicts

of interest.

                  C.        Defendant Fraudulently Holding Himself Out as a Yale Law Graduate to
                            Get a Job With Plaintiff is Still Fraud, Even Thought Defendant’s Real
                            Law Degree Was Listed on a Online Blogs as Cited by Defendant.

         It is safe to assume that Company executives get their position at least primarily based on

qualifications, are given such positions by agent with power or by board vote. It is also highly unlikely

that a Yale Law degree does not go a long way in attaining such positions. Defendant argues that

Plaintiff didn’t plead who he made fraudulent statements to, that it was ok that he lied about

graduating from Yale law school, because it may have been possible to find online profiles that did

not reflect as much, and that it couldn’t have contributed to Defendant being given equity in the

company and brought in as General Counsel based on Defendant’s falsely represented background

and experience. The facts are straightforward and consistent throughout the Complaint: Defendant in

this case represented to Plaintiff that he was a Yale Law graduate, that Plaintiff brought him in as

General Counsel, Plaintiff offered stock as compensation, and that Plaintiff relied on Defendant’s

fraudulent background to make that decision.

         Under a Section 2-615 analysis the Court should make all reasonable inferences from and

construe the Complaint in the light most favorable to the Plaintiff. The only facts to be considered in
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ruling on a motion to dismiss are those set forth in the complaint under attack. Karen Stavins

Enterprises, Inc. v. Community College Dist. No. 508, App. 1 Dist.2015, 394 Ill.Dec. 724, 36 N.E.3d

1015. The only reasonable inference that can be made based on these facts is that Defendant made

such fraudulent representations to an agent or the board of Plaintiff capable of giving him a position,

not an unrelated party, and that its reasonable that someone alleged to have committed all of the acts

in the Complaint, which are presumed to be true in this analysis, could also be convincing enough for

Plaintiff not to double-check his credentials. The argument in Defendant’s Motion purporting to

justify Defendant committing fraud just because there is a contradictory public record is laughable.

         Furthermore, Defendant further omitted from its motion how Plaintiff’s Complaint articulated

Defendant’s fraudulent statements made outside of the aforementioned Yale Law representations,

including Defendant’s capacity for management and project design, and capabilities to engage in the

practice of corporate law. Plaintiff extensively listed in its Complaint how it was left in shambles

because Defendant did not know how to practice corporate law and complied with very few, if any,

of the corporate formality requirements that he had represented were within his knowledge base –

being a Yale Law graduate with capability to practice corporate law. This was not only material in

inducing Plaintiff to give to him a job with, shares in, and the trust of Plaintiff, but it was central to

the role he was given.

                  D.        Plaintiff’s Fraud in the Inducement and Negligent Misrepresentation
                            Claims May be Properly Brought in the Same Suit.

         Plaintiff incorporates its arguments contained in Subsection (C) of this response. A claim

should not be dismissed on a motion with respect to pleadings unless no set of facts can be proved

which would entitle the plaintiff to recover. Napleton v. Village of Hinsdale, 2008, 322 Ill.Dec. 548,

229 Ill.2d 296, 891 N.E.2d 839. While Plaintiff’s claims may have overlapping supporting facts,

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Defendants have failed to argue that a negligent representation claim and fraud in the inducement

claim may not be brought in the same action and that they are not separate claims under Illinois law.

Should the Court find that Plaintiff need to amend to state such cause of action in the alternative,

Plaintiff respectfully requests this Court to allow Plaintiff time to amend.

                  E.        Plaintiff’s Complaint Clearly Describes a Professional Negligence Claim.

         Defendant chose to only address a few of Plaintiff’s asserted professional negligence

supporting facts in its Motion. Not mentioned in said Motion were the factual allegation in the

Complaint that detail the list of failures by Defendant to perform in his role as Defendant’s General

Counsel.

         Plaintiff asserted in its Complaint that Defendant was appointed to such position, that

Defendant breached his duty of care by not performing most of, if not all of the job organizing and

managing Plaintiff in compliance with Delaware law, and that Plaintiff suffered damages due to this

breach in a specifically stated sum. Plaintiff would again ask that this Court take judicial notice of

the Delaware and Illinois Professional Rules of Conduct, as well as Title 8 of the Delaware Code

relating to duties owed, requirements for establishing and maintaining a corporation under Delaware

law, as well as the establishment of an attorney-client relationship. Defendant cannot put on evidence

under a Section 2-615 Motion to contest such facts alleged; the face of the Complaint controls.

         IV.      RESPONSE TO DEFENDANT’S SECTION 2-619(a)(9) MOTION

         In Defendant’s Combined Motion to Dismiss, Defendant split its combined motion into

subsection III(B), identified as Defendant’s Section 2-619(a)(9) motion, and the previously argued

subsection III(A) related solely to its Section 2-615 motion. As a combined motion to dismiss must

be presented in parts, and each part must specify the section of the Code of Civil Procedure under

which it is brought under 735 ILCS § 5/619.1, Defendant’s arguments in its subsection III(B) of its
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Motion are limited to Section 2-619 analysis, by statute.

                  A.        While Defendant (Without Supporting Affidavit) Takes Issues With One
                            Supporting Fact Relating to Plaintiff’s Fraud, Inducement, and
                            Misrepresentation Claims, Defendant Makes No Mention of the Various
                            Other Properly Pled Supporting Facts.

         If grounds for dismissal are not apparent on the face of the complaint, the moving party must

file an affidavit along with its 2-619 motion to demonstrate the basis or bases for dismissal. 735 ILCS

§ 5/2-619. Defendant failed to include any such evidence to contest Plaintiff’s asserted facts. In a

Section 2-619 motion, Defendant cannot make quasi-Section 2-615 arguments relating to the

sufficiency of the amount of facts pled; Defendant must take such facts not contested by affidavits

included with its Section 2-619 motion and show the Court as a matter of law why Defendant has an

affirmative defense. Again, Illinois Supreme Court has described an affirmative matter as “some kind

of defense ‘other than a negation of the essential allegations of the plaintiff’s cause of action’” Van

Meter v. Darien Park Dist., 799 N.E.2d 273, 278 (Ill. 2003) (quoting Kedzie & 103rd Currency Exch.,

Inc. v. Hodge, 619 N.E.2d 732, 735 (Ill. 1993).

          The movant for a motion to dismiss cannot merely rely upon evidence offered to refute well-

pleaded facts, since well-pleaded facts must be taken as true for the purposes of a motion to dismiss

alleging that the claim asserted against defendant is barred by other affirmative matter avoiding the

legal effect of or defeating the claim. Feldheim v. Sims, App. 1 Dist.2001, 260 Ill.Dec. 44, 326

Ill.App.3d 302, 760 N.E.2d 123, on subsequent appeal Ill.Dec. 342, 344 Ill.App.3d 135, 800 N.E.2d

410, rehearing denied, appeal denied. Furthermore, with respect to a motion for involuntary dismissal

that raises an “affirmative matter avoiding the legal effect of or defeating the claim,” the “affirmative

matter” must be something more than evidence offered to refute a material fact alleged in the

complaint. Provenzale v. Forister, App. 2 Dist.2001, 252 Ill.Dec. 808. If it cannot be determined with

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reasonable certainty that the alleged defense exists, the motion to dismiss based on certain defects or

defenses should not be granted. Saxon Mortg., Inc. v. United Financial Mortg. Corp., App. 1

Dist.2000, 245 Ill.Dec. 455, 312 Ill.App.3d 1098, 728 N.E.2d 537. An affirmative matter presented

in affidavits submitted by defendant in support of motion to dismiss must be more than just evidence

that refutes well-pleaded fact in complaint. Griffin v. Universal Cas. Co., App. 1 Dist.1995, 211

Ill.Dec. 232, 274 Ill.App.3d 1056, 654 N.E.2d 694.

         Defendant did not provide evidence that he ever corrected his false Yale Law degree

representations. Plaintiff did not assert that Defendant became General Counsel of Plaintiff prior to

Plaintiff being formed, as this would be nonsensical. Instead, Plaintiff asserted Defendant’s first time

making the false Yale Law degree representations, and that Defendants assertions about his

competence to assess and apply corporate law, his experience, and other misrepresentations made to

third-parties and Plaintiff regarding the number of shares issued, were intentionally used by Defendant

to be appointed General Counsel, be issued shares, and to further attempt to issue himself more shares

and wrongfully take Plaintiff’s assets; these misrepresentations would have necessarily had to take

place after Plaintiff’s formation.

                  B.        Defendant’s Negligent Misrepresentation Argument Relies on Fact Issues
                            Which Remain Uncontested Before the Court Especially in Light of
                            Defendant’s Failure to Include Any Supporting Affidavit.

         Defendant cannot assert, without supporting affidavits, outside facts that would contest facts

pled in Plaintiff’s Complaint under a Section 2-619 analysis. In this case, Defendant asserts that

Plaintiff is not a signatory to the agreement for which Plaintiff seeks recission. Joinder problems are

not grounds for dismissing entire action or striking complaint; proper remedy for misjoinder or failure

to join a necessary party is to dismiss as to the improper party or to order missing party added.

Horwath v. Parker, App. 1 Dist.1979, 28 Ill.Dec. 90, 72 Ill.App.3d 128, 390 N.E.2d 72. Defendant
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has not asserted that Plaintiff was not formed or operated based on the initial agreement, and has not

asserted that the initial signatories did not perform on the agreement after Plaintiff was formed as

agents of Plaintiff. Frankly, the only evidence before the Court on this matter is that there was a

Founder’s Agreement and which Plaintiff ultimately granted Defendant shares and a position with

Plaintiff.

         Further, Defendant arguing that one of multiple requests for relief that may or may not

overlap, or that may or may not be awarded together, does not provide that as a matter of law, Plaintiff

cannot claim other damages or one or the other of the alleged damages. Plaintiff requested several

different types of relief by which it may be entitled, and although Defendant may move to strike

portions of the pleadings, such is not available prior to answering in a motion to dismiss.

         Even if the Court determined that necessary parties must be joined to the present suit,

Defendant has not shown that why as a matter of law that Defendant should prevail on Plaintiff’s

claims as pled in the Complaint. Defendant’s relief sought on this issue would be that the Court order

additional parties joined, upon motion, prior to the case proceeding.

                  C.        Plaintiff Agrees With Defendant’s Assertion That Punitive Damages are
                            Not Proper at this Juncture of the Suit, and Respectfully Requests this
                            Court to Allow Plaintiff to Amend its Complaint.

         Punitive damages may be awarded in common law fraud cases. Fed'l Deposit Insurance Corp.

v. W.R. Grace & Co., 877 F. 2d 614 (7h Cir. 1989). However, Plaintiff agrees with Defendant that

such a claim is not proper until the case proceeds, and Plaintiff files a motion for leave to amend the

complaint to include a prayer for relief seeking punitive damages. Plaintiff would argue however, that

the jury may award punitive damages to punish the defendant and discourage the defendant (or others)

from similar conduct if the jury finds a defendant’s conduct to be: (1) fraudulent, intentional, or willful

and wanton; and (2) proximately cause the injury or damage to Plaintiff; and (3) if the jury believes
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that justice and the public good require it.

         As such, Plaintiff would respectfully request the Court to allow Plaintiff to amend its

Complaint to omit the current claim for punitive damages, to allow Plaintiff to revisit this issue in a

motion for leave to amend Plaintiff’s Complaint when appropriate.

         V.       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter an order denying

Defendant’s Combined Motion to Dismiss and grant any other relief deemed just and proper.

Alternatively, should the Court find that Defendant’s Combined Motion to Dismiss be granted in

whole or part, Plaintiff respectfully requests this Court to allow Plaintiff to amend its pleadings,

and grant any other relief deemed just and proper.

Date: April 7, 2021                                     Respectfully Submitted,

                                                        /s/ Todd E. Wallace
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                                                                                   EXHIBIT A-5
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